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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,
                Plaintiff,

v.                                                            Criminal No. 1:05cr23-4


LATASHA LINEAR,
                       Defendant.


                                       ORDER/OPINION


       On the 8th day of February 2007, came the defendant, Latasha Linear, in person and by her

counsel, Brian J. Kornbrath, and also came the United States by its Assistant United States Attorney,

Zelda E. Wesley, pursuant to a Petition for Warrant of Summons for Offender Under Supervision

filed in this case on January 30, 2007, alleging:

1)     Violation of Mandatory Condition: While on probation, the defendant shall not commit
       another federal, state or local crime. The defendant shall not illegally possess a controlled
       substance. On or about June 12, 2006, Ms. Linear was arrested by the Three Rivers Task
       Force, Fairmont, West Virginia, for two counts of distributing marijuana. On January 5,
       2007, Ms. Linear plead guilty in the Marion County Circuit Court to Count One, Case No.
       06-F-127, charging her with Delivery of a Controlled Substance Within One Thousand Feet
       of a School. The defendant was sentence on January 5, 2007 to 3 years Probation. . . .

2)     Violation of Special Condition: The defendant shall participate in a program of testing,
       counseling and treatment for the use of alcohol or drugs if so ordered by the Probation
       Officer. The defendant failed to report for drug testing on December 16, 2006 and January
       6, 2007 . . . .

       Defendant’s Supervising United States Probation Officer Vincent T. Zummo also noted two

previous reports had been submitted to the Court regarding alleged violations by Defendant,


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including an April 27, 2006, report regarding a positive test for and admission to using and sharing

marijuana; and a June 23, 2006, report regarding the arrest which is the basis of the current Petition.

       Prior to the taking of evidence, counsel for Defendant waived the preliminary hearing,

conceding probable cause existed to forward this revocation matter to Chief United States District

Judge Irene M. Keeley for hearing and disposition.

       The Court then explained the charges contained in the Petition and the effect of the proposed

waiver to Defendant and inquired of her as to the voluntariness of her decision to waive the

preliminary hearing. From the colloquy between the Court and the defendant, the Court concluded

Defendant’s decision to waive the preliminary hearing was knowingly and voluntarily made.

        Upon consideration of all which, the Court finds there is probable cause to believe that the

defendant violated the Conditions of her Supervised Release as alleged in the Petition for Warrant

or Summons for Offender Under Supervision filed January 30, 2007.

         It is therefore ORDERED that the defendant be bound over for a full hearing before the

Honorable Irene M. Keeley, Chief United States District Judge for the Northern District of West

Virginia on the violations alleged in the Petition for Warrant or Summons for Offender Under

Supervision filed on January 30, 2007.

       Defendant then moved the Court to permit her to remain on release at her mother’s residence,

either under telephonic or electronic monitoring, pending further proceedings before the Court. The

Government had no objection to Defendant’s release with electronic monitoring. For reasons stated

on the record, Defendant’s motion is GRANTED pending the Probation Officer’s investigation of

Defendant’s mother’s residence for suitability, and Defendant’s mother signing that she agrees to

act as Defendant’s third-party custodian. All other conditions of the Conditions of Supervised


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Release entered in this case remain in full force and effect.

       The Clerk of the court is directed to send a copy of this order to counsel of record.



DATED: February 9, 2007.

                                                      /s John S. Kaull
                                                      JOHN S. KAULL
                                                      UNITED STATES MAGISTRATE JUDGE




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